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                                   UNITED STATES DISTRICT COURT

                                  EASTERN DISTRICT OF LOUISIANA

CHERYL ANN HARRELL                                           *      CASE NO.
                                                             *
VERSUS                                                       *      JUDGE
                                                             *
HOME DEPOT U.S.A., INC.                                      *      MAGISTRATE
and their liability insurance carrier,                       *
XYZ INSURANCE COMPANY                                        *

                                         NOTICE OF REMOVAL

             Defendant, Home Depot U.S.A., Inc. (“Home Depot” or “Defendant”), hereby removes the

action captioned “Cheryl Ann Harrell versus Home Depot U.S.A., Inc.,” bearing case number

77336 on the docket of the 40th Judicial District Court for the Parish of St. John the Baptist, State

of Louisiana, to the United States District Court for the Eastern District of Louisiana. In support

of this notice of removal, Defendant pleads the following grounds:

                                                       I.

             This civil action was filed by plaintiff, Cheryl Ann Harrell (“Plaintiff”), on November 17,

2021, in the 40th Judicial District Court for the Parish of St. John the Baptist, State of Louisiana,

bearing case number 77336, seeking to recover damages for personal injuries allegedly related to

an accident at a Home Depot store located in Laplace, Louisiana.

                                                       II.

             Plaintiff was at the time of the filing of this action a resident and domiciliary of Louisiana.

See, Petition for Damages (“Petition”) attached hereto as Exhibit A, at ⁋ I.




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                                                       III.

             Defendant, Home Depot, was at the time of the filing of this action, and still is, a foreign

entity incorporated under the laws of Delaware, with its principal place of business in Atlanta,

Georgia. See, Declaration of Counsel attached hereto as Exhibit B, at ¶ 11.

                                                       IV.

             The Petition and Citation were served on Home Depot through its registered agent for

service of process on November 29, 2021. See, Exhibit B, Declaration of Counsel.

                                                        V.

             It is not apparent on the face of the Petition that was filed in the 40th Judicial District Court

for the Parish of St. John the Baptist that the action is within the original jurisdiction of this Court

under the provisions of 28 U.S.C. §1332; specifically, the Petition does not show that the amount

in controversy allegedly related to the subject accident exceeds the sum or value of $75,000,

exclusive of interest and costs. See generally, Exhibit A, Petition.

                                                       VI.

             Plaintiff did not produce any medical records or medical bills with her written discovery

responses to Home Depot. Medical records were requested on behalf of Home Depot based on

the names of the medical facilities set forth in Plaintiff’s written discovery responses.

                                                       VII.

             Upon receipt of medical records from OrthoLA on May 19, 2022, Home Depot first

received notice that the amount in controversy exceeds $75,000, exclusive of interest and costs, in

this case involving diverse parties. Specifically, Home Depot received post-accident medical

records which show the following:




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      •      Plaintiff was diagnosed with adhesive capsulitis of the right shoulder by Dr. Higgins of
             OrthoLA on February 8, 2021 following an office visit with chief complaint of right
             shoulder pain. As a result, Plaintiff was given a steroid injection.

      •      Plaintiff underwent a MRI of the right shoulder on March 30, 2021. The MRI revealed
             near complete tearing of the supraspinatus tendon with milder tendinosis, and tearing of
             the infraspinatus and subscapularis. There was fairly extensive posterior labral tearing
             extending from the posterosuperior labrum to the posteroinferior labrum. Additional focal
             tearing was noted of the 6 o’clock position of the inferior labrum.

      •      Rotator cuff surgery was recommended by Dr. Higgins of OrthoLA following the results
             of the MRI of the right shoulder.

      •      Plaintiff underwent the following procedures on April 15, 2021: right shoulder
             arthroscopic revision rotator cuff repair of medium tear; right shoulder arthroscopic
             revision subacromial decompression; right shoulder arthroscopic distal clavicle excision;
             right shoulder arthroscopic biceps lenotomy; right shoulder arthroscopic capsular release;
             and right shoulder arthroscopic microfracture of the tuberosity.

      •      Plaintiff underwent a second MRI of her right shoulder on November 24, 2021. The MRI
             revealed that there was complete disruption of the supraspinatus tendon with only a few
             fibers of the infraspinatus tendon remaining intact.

      •      Plaintiff underwent a right reverse total shoulder arthroplasty procedure (a second surgery
             on the right shoulder) on May 3, 2022 for a preoperative diagnosis of right shoulder rotator
             cuff arthropathy.

See, Exhibit B, Declaration of Counsel at ¶ 8, with medical records attached thereto.

                                                     VIII.

             While liability and damages are disputed, it was not until Home Depot received medical

records from OrthoLA on May 19, 2022 that it was first put on notice that the amount in

controversy in the action filed by Plaintiff exceeds $75,000, exclusive of interest and costs.

                                                     IX.

             Considering all of the above, this is a civil action within the original jurisdiction of this

Court under the provisions of 28 U.S.C. §1332, and is thus removable to this Court pursuant to the

provisions of 28 U.S.C. §1441, et seq., because the amount in controversy exceeds the sum or

value of $75,000, exclusive of interest and costs, and is between citizens of different states.

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                                                    X.
             In compliance with the requirements of 28 U.S.C. §1446(b)(3), this notice of removal is

filed within thirty (30) days after “receipt by the defendant, through service or otherwise, of a copy

of an amended pleading, motion, order or other paper from which it may first be ascertained that

the case is one which is or has become removable.”

                                                   XI.

             In compliance with 28 U.S.C §1446(a), a copy of all process, pleadings and orders served

upon Home Depot to date in state court are attached as Exhibit A, and made a part hereof.

                                                   XII.

             In compliance with 28 U.S.C. §1446(d), Home Depot hereby certifies that notice of

removal is being served on adverse parties, and to the Clerk of Court of the 40th Judicial District

Court for the Parish of St. John the Baptist, State of Louisiana.

             WHEREFORE, defendant, Home Depot U.S.A., Inc., prays that this cause be removed

from the 40th Judicial District Court for the Parish of St. John the Baptist, State of Louisiana, to

this Honorable Court, to proceed thereafter in the United States District Court for the Eastern

District of Louisiana.

                                                 Respectfully submitted,

                                                 /s/ M. Davis Ready
                                                 M. Davis Ready, T.A. (Bar No. 24616)
                                                 Susan M. Caruso (Bar No. 27195)
                                                 April A. McQuillar (Bar No. 27002)
                                                 SIMON, PERAGINE, SMITH & REDFEARN, L.L.P.
                                                 1100 Poydras Street, 30th Floor
                                                 New Orleans, Louisiana 70163
                                                 Telephone (504) 569-2030
                                                 Facsimile (504) 569-2999
                                                 davisr@spsr-law.com
                                                 susanc@spsr-law.com
                                                 aprilm@spsr-law.com
                                                 Attorneys for Home Depot U.S.A., Inc.

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                                      CERTIFICATE OF SERVICE

             I hereby certify that a copy of the foregoing was this day filed electronically with the Clerk

of Court using the CM/ECF system. Notice of this filing has been served upon all counsel of record

by facsimile, electronic mail, by hand delivery or by placing a copy of same in the United States

mail, postage prepaid and properly addressed, this 8th day of June, 2022.



                                                      /s/ M. Davis Ready




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